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 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                  )        Case №:2:13-cr-00117 GEB
                                                )
 9                  Plaintiff,                  )                    ORDER
                                                )               APPOINTING COUNSEL
10        vs.                                   )
     DANIEL COVARRUBIAS,                        )
11                                              )
                    Defendant.                  )
12                                              )
                                                )
13
            The defendant has, under oath, sworn or affirmed as to his financial inability to employ
14
     counsel.
15
            OFFENSE: 21 USC § 841(a)(1)
16
            CJA Panel attorney Kyle Knapp is hereby appointed effective April 28, 2014, the date the
17   Office of the Federal Defender first contacted him.
18          APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT
19   SUPPORTING APPOINTMENT.

20   Dated: April 29, 2014
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     ORDER APPOINTING COUNSEL                        1
